                Case 4:19-cv-00010-BMM Document 3 Filed 02/14/19 Page 1 of 1

                                     OFFICE OF THE CLERK
                                UNITED STATES DISTRICT COURT
                                    For The District of Montana
Tyler P. Gilman                                                                                    Beth Conley
Clerk of Court                                                                                  Chief Deputy of
                                                                                                 Administration

                                                                                                 Coleen Hanley
                                                                                                Chief Deputy of
                                                                                                     Operations
                                                February 14, 2019

  Case Number: CV-19-10-GF-BMM

  Dear Counsel: Elizabeth K. Ehret

  Our records indicate you have appeared as counsel of record in a matter pending before the United States
  District Court for the District of Montana. All attorneys appearing in the District of Montana must
  register with the clerk’s office to become electronic filers. Exemption may be sought on a case-by-case
  basis by showing good cause, such as the unavailability of high-speed internet access. Attorneys who fail
  to either register or obtain an exemption from registration will not be able to file in the court record. Nor
  will they be able to receive service from the clerk’s office of any filings.

  If you are registered to file electronically in another federal district or bankruptcy court, you will not be
  required to complete training before registering as a CM/ECF user in the District of Montana. Simply
  complete the CM/ECF User Registration Form found on the court’s website at
  http://www.mtd.uscourts.gov/cmecf-attorney-registration and submit it as directed on the form.

  If you are not registered to file electronically in another federal district or bankruptcy court, you will need
  to complete our electronic learning modules before registering for a login and password. The learning
  modules can be found on our website at
  http: //www.mtd.uscourts.gov/efiling.html under the Training and Manuals section. After you have
  completed the modules and reviewed our Administrative Procedures Manual, please complete the short
  quiz. After successfully passing the quiz, print the results, and submit them with your registration form to
  the mail or e-mail address located on the form.

  A login and password will be e-mailed to you after the court receives your properly completed materials.

                                                         Tyler P. Gilman, Clerk of Court

                                                         by /s/ Athena Cobb
                                                           Case Manager
